     Case 2:20-cr-00634-DWL Document 85-1 Filed 12/09/21 Page 1 of 2




 1
 2
 3
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7
                                  DISTRICT OF ARIZONA
 8
 9
     United States of America,                        No. CR-20-00634-PHX-DWL
10
                   Plaintiff,                                    ORDER
11
           vs.
12                                                           (Eighth Request)
     Jill Marie Jones,
13
                   Defendant.
14
15         Upon motion of Defendant with no objection from the Government, and
16   good cause appearing,
17         IT IS ORDERED granting Defendant’s Motion to Continue Trial and Extend
18   Time to File Pretrial Motions (Doc. ____), for the reasons stated in Defendant's
19   motion, including that defense counsel needs additional time to prepare for trial.
20         This Court specifically finds that the ends of justice served by granting a
21
     continuance outweigh the best interests of the public and the defendant in a speedy
22
     trial. This finding is based upon the Court's conclusion that the failure to grant such
23
     a continuance would deny Defendant the reasonable time necessary for effective
24
     preparation, taking into account the exercise of due diligence. 18 U.S.C. §
25
     3161(h)(7)(B)(iv).
26
27
28
     Case 2:20-cr-00634-DWL Document 85-1 Filed 12/09/21 Page 2 of 2




 1         IT IS FURTHER ORDERED continuing the trial from February 1, 2022 to
 2   ________, 2022 at 9:00 a.m.
 3         IT IS FURTHER ORDERED continuing the pretrial motions deadline until
 4   ________, 2022.
 5         The Court finds excludable delay under Title 18 U.S.C. §3161(h)(7)(A) and
 6   (B) will commence from _______ to _________.
 7         DATED this _____ day of _____, 2021.
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                         2
